Case 2:05-cr-80722-PJD-RSW ECF No. 57, PageID.125 Filed 08/23/06 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                          CASE NO. 05-80722-04
              Plaintiff,
                                          DISTRICT JUDGE PATRICK J. DUGGAN
v.
                                          MAGISTRATE JUDGE DONALD A. SCHEER
ROBERT MULLENS,

           Defendant.
_________________________________/

                                         ORDER

       Defendant Robert Mullens’ Motion for Disclosure of All Statements Attributable to

Defendant was referred to the undersigned magistrate judge for hearing and

determination. The motion was set for hearing on August 22, 2006. The parties,

however, have waived a hearing and requested that the motion be determined on their

written submissions.

       Having reviewed Defendant’s Motion, together with the Government’s Response,

I find that the Motion should be, and the same is hereby granted in part, as follows:

       1. The Government shall permit the Defendant to inspect and copy tangible

objects in the possession and control of the Government which are intended to be

introduced in the Government’s case-in-chief, or are otherwise material to the

preparation of a defense. Upon the Government’s written assurance that it has

complied with the requirements of Fed.R.Crim.P. 16(a)(1)(A) and (B) by providing the

Defendant any recorded statement by the Defendant, and the substance of any oral

statement made by the Defendant in response to interrogation, and with Fed.R.Crim.P.

16(a)(1)(D) by disclosing to the Defendant his prior record, I find that the Motion should
Case 2:05-cr-80722-PJD-RSW ECF No. 57, PageID.126 Filed 08/23/06 Page 2 of 2




in all other respects be denied.




                                          s/Donald A. Scheer
                                          DONALD A. SCHEER
                                          UNITED STATES MAGISTRATE JUDGE

DATED: August 23, 2006




_____________________________________________________________________

                              CERTIFICATE OF SERVICE

       I hereby certify on August 23, 2006 that I electronically filed the foregoing paper
with the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following non-
registered ECF participants on August 23, 2006. None.

                                          s/Michael E. Lang
                                          Deputy Clerk to
                                          Magistrate Judge Donald A. Scheer
                                          (313) 234-5217
